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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION

YIFAN SHEN, et al.,
              Plaintiﬀs,
v.                                              Case No. 4:23-cv-208-AW-MAF
WILTON SIMPSON, etc., et al.,
               Defendants.


             PLAINTIFFS’ CERTIFICATE OF SERVICE
      OF JUNE 14, 2023 ORDER REGARDING SCHEDULE (ECF 44)

      Pursuant to the Court’s June 14, 2023 Order Regarding Schedule (ECF 44), I

certify that all three State Attorney Defendants, who have not yet appeared in this

action, have been served with a copy of the Order.

      I certify that Plaintiﬀs’ counsel served the Order on State Attorney Katherine

Fernandez Rundle today by handing a copy to Elijah Delgado, Clerical Specialist III

in the 11th Circuit State Attorney’s Oﬃce, who accepted service on her behalf. I

certify that Plaintiﬀs’ counsel retained a process server to serve the Order on State

Attorneys R.J Larizza and Monique Worrell. [e Order was personally served on

the 7th Circuit State Attorney’s Oﬃce today. [e process server has not yet

conﬁrmed if the 9th Circuit State Attorney’s Oﬃce has been served.

      Additionally, at 2:55 P.M. today, Arthur I. “Buddy” Jacobs called me and

communicated that he is representing all three State Attorney Defendants in this



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matter. Mr. Jacobs consented to service of the Order Regarding Schedule on behalf

of all three State Attorney Defendants by email, and I emailed him a copy of the

Order at 3:04 P.M.

      Finally, before speaking with Mr. Jacobs, Plaintiﬀs’ counsel emailed the

Order to Kamilah Perry, Executive Director and General Counsel for the 9th Circuit

State Attorney’s Oﬃce, with whom Plaintiﬀs’ counsel had previously spoken about

the lawsuit. And, Plaintiﬀs’ counsel emailed the Order to a Joanne Barnett, main

secretary in the 7th Circuit State Attorney’s Oﬃce.



                                Respectfully submitted this 15th day of June, 2023,

                                /s/ Nicholas L.V. Warren

                                Nicholas L.V. Warren (FBN 1019018)
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